                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON

In re                                           )
                                                )           18-34162-pcm7
                                                    Case No._______________
Poler, Inc                                      )
                                                )   CHAPTER 7 TRUSTEE’S
                                                )   INTERIM REPORT
                                                )   NUMBER _______
                                                               4
Debtor(s)                                       )

      The trustee, ____________________________________,
                   Rodolfo A. Camacho                    reports upon the financial condition of the estate and
progress of its administration as follows:
                                                      Amounts Since                  Total From Date Case
   Estate Monies                                         Last Report                  Began Under Ch. 7
1. Receipts                                                                0.00
                                                            $__________________             $              6,064,227.36
    Disbursements                                           $__________________
                                                                    1,630,849.04            $              5,748,752.80
    BALANCE ON HAND                                                                         $                315,474.56

2. The following estate property has not yet been liquidated:
   None




3. The trustee proposes to take the following action to liquidate the property mentioned in paragraph 2 (Do not include
   payments owing by the debtor(s), but not yet due):
   N/A


4. The trustee expects to complete liquidation of the assets and file a final account (Give expected date or estimated
   period of time):
   N/A

                                       200,000.00
5. The trustee believes the sum of $______________      could be disbursed for interim compensation and administrative
   expenses at this time without jeopardizing the viability of the estate.

6. The trustee expects to make a distribution to creditors (Give expected date or estimated period of time, or if stating
   "NONE" then also state reasons why not):
   The trustee will distribute $200,000.00 (i) for professional fees of special counsel Stephen Boyke
   ($25,440.80) and trustee commission ($16,200.00) and (ii) distribute all remaining funds to preferred
   shareholders.
7. The Court has appointed the following professionals to perform duties in this case (Provide names and types of duties
   only if the persons have not received final compensation):
   Stephen T. Boyke, - As special counsel to assist Trustee in determining allowed creditor claims and
   shareholder interests, determine and obtain authorization of distribution amounts and tax matters.
   Geffen Mesher - As tax accountants to prepare 2018 through 2023 income tax returns.
                                                               55,000.00
8. The trustee is currently obligated to pay a maximum of $_______________      for administrative expenses owed to non-
   professionals. [If case converted from Chapter 11 to 7] The maximum amount of all timely filed claims for Chapter
   11 administrative expenses is $_______________.
                                            0.00

9. Additional comments:
   Final report and final distribution must await resolution of IRS penalty abatement request which is
   expected to be resolved within 60 days.


          08/17/2022
    DATE:__________
                                                                                    /s/ Rodolfo Camacho
                                                                           ___________________________________
753 (12/12/88)                                                                            Trustee
                                Case 18-34162-pcm7         Doc 228      Filed 08/17/22
